Case 2:05-cr-20095-.]PI\/| Document 43 Filed 06/24/05 Page 1 of 3 Page|D 54

IN THE UNITED sTATES DISTRICT coURT `-`“‘§i_.... w ,
FOR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION 35} 21; k»‘;i|;_‘ 3

 

 

UNITED STATES OF AMERICA
Plaintiff,

Criminal l\To.J___§t Z'Oiq%._

V.

yERRlcl< A), @LWEP\
__§é-H+k-':B‘?FR‘¢BN\

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
A.N'D EXC'LUSION OF 'I'IME

 

As indicated by the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. August 26, 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

Th!s document entered on the docket sheet |n compliyce
wlm ama 55 annum 32(b) sqch on “ ' 06

 

Case 2:05-cr-20095-.]PI\/| Document 43 Filed 06/24/05 Page 2 of 3 Page|D 55

so oRDERED this 24th day of June, 2005.

QMQQ

_ JO PHIPPS MCCALLA
' U'N TED S'I'ATES DIS'I'RICT JUDGE

    
 

  
  

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Yawé/ K_ Ar<\/~\/

Assistant United States Attorney

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Counsel for Defendant(s)

ISTRIC COURT - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:05-CR-20095 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

